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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


ELI LILLY AND COMPANY, et al.,

                     Plaintiffs,
      v.                                            Case No. 24-CV-3220 (DLF)
ROBERT F. KENNEDY JR., et al.,

                    Defendants.


BRISTOL MYERS SQUIBB COMPANY,

                     Plaintiff,
      v.                                            Case No. 24-CV-3337 (DLF)
ROBERT F. KENNEDY JR., et al.,

                    Defendants.


SANOFI-AVENTIS U.S. LLC,

                     Plaintiff,
      v.                                            Case No. 24-CV-3496 (DLF)
UNITED STATES DEPARTMENT OF HEALTH AND
HUMAN SERVICES, et al.,

                    Defendants.


NOVARTIS PHARMACEUTICALS
CORPORATION,

                     Plaintiff,
      v.                                            Case No. 25-CV-0117 (DLF)
ROBERT F. KENNEDY JR., et al.,

                    Defendants.


                    PLAINTIFFS’ JOINT OPPOSITION TO
       340B HEALTH, UMASS MEMORIAL CENTER MOTION, AND GENESIS
              HEALTHCARE SYSTEM’S MOTION TO INTERVENE
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       The federal 340B program requires manufacturers to offer their medicines at reduced prices

to certain healthcare providers. Rather than pass on these reduced prices to their patients, 340B

hospitals and their for-profit pharmacy partners choose to charge commercial and government

payors full price. They then “divvy up the spread between the discounted price and the higher

insurance reimbursement rate.” Novartis Pharms. Corp. v. Johnson, 102 F.4th 452, 457 (D.C. Cir.

2024). As 340B profits have swelled, so have statutory violations—thanks in part to a lack of

proper oversight by the Health Resources and Services Administration (HRSA). Two 340B

hospitals and their trade association have moved to intervene to defend the broken status quo.

       The four Manufacturer-Plaintiffs—Eli Lilly and Company and Lilly USA, LLC (Lilly),

Bristol Myers Squibb Company (BMS), Sanofi-Aventis U.S. LLC (Sanofi), and Novartis

Pharmaceuticals Corp. (Novartis)—respectfully oppose intervention at this late hour by 340B

Health, UMass Memorial Medical Center, and Genesis HealthCare System (Proposed Intervenors).

This Court should deny intervention because (1) Proposed Intervenors lack Article III standing;

(2) Proposed Intervenors are not entitled to intervene as of right because their motion was not timely

filed, they do not have a protected interest warranting intervention, any interests they do have will

not be impaired by this action, and the government adequately represents any interests they have;

and (3) permissive intervention is unwarranted.

                                         BACKGROUND

       The underlying background for this matter is set forth fully in Manufacturer-Plaintiffs’

briefs in support of their motions for summary judgment. See No. 24-3220, ECF No. 15 (Lilly);

No. 24-3337, ECF No. 17 (BMS); No. 25-117, ECF No. 12 (Novartis). Manufacturer-Plaintiffs’

suits allege that Defendants—HRSA, the Department of Health and Human Services (HHS), and

officials of these agencies—acted in excess of their authority under the 340B statute, 42 U.S.C.

§ 256b, the Administrative Procedure Act, 5 U.S.C. § 706, and the Constitution, U.S. Const. amend.


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V, in prohibiting Manufacturer-Plaintiffs from adopting their cash-replenishment or cash-rebate

models through letters to Manufacturer-Plaintiffs and a post on HRSA’s website.

       The Court has approved a stipulated briefing schedule under which the parties will complete

briefing on cross-motions for summary judgment by March 31, 2025. See No. 24-3337, Minute

Order of December 30, 2024 (BMS); No. 24-3220, Minute Order of January 2, 2025 (Lilly); No.

24-3496, Minute Order of January 6, 2025 (Sanofi); No. 25-117, Minute Order of January 27, 2025

(Novartis). Lilly, BMS, and Novartis filed their summary-judgment motions on February 3, 2025,

No. 24-3220, ECF No. 15 (Lilly); No. 24-3337, ECF No. 17 (BMS); No. 25-117, ECF No. 12

(Novartis), while Sanofi will file its summary-judgment motion on February 20, 2025. See No. 24-

3496, Minute Order of January 6, 2025 (Sanofi). Two days after Lilly, BMS, and Novartis filed

their summary-judgment motions, Proposed Intervenors—a 340B hospital association and two

340B hospitals—moved to intervene as defendants. No. 24-3220, ECF No. 18 (Lilly); No. 24-

3337, ECF No. 20 (BMS); No. 25-117, ECF No. 15 (Novartis).

       BMS also moved to expedite consideration of the case, on which Defendants took no

position, explaining that deadlines arising from BMS’s obligations under the Drug Price

Negotiation Program established by the Inflation Reduction Act (IRA), Pub. L. No. 117-169, 136

Stat. 1818 (2022)—namely, the IRA’s requirement that BMS submit its plan for effectuating the

“maximum fair price” by September 1, 2025—weigh in favor of resolving this case by May 1,

2025. No. 24-3337, ECF No. 12.

                                         ARGUMENT

I.     PROPOSED INTERVENORS LACK ARTICLE III STANDING.

       To intervene under Rule 24, a prospective intervenor must establish standing under Article

III by demonstrating, among other things, an injury-in-fact. Fund For Animals, Inc. v. Norton, 322

F.3d 728, 732–733 (D.C. Cir. 2003) (citing Lujan v. Defenders of Wildlife, 504 U.S. 555, 560–561


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(1992)); see Yocha Dehe v. U.S. Dep’t of Interior, 3 F.4th 427, 430 (D.C. Cir. 2021). And when a

party seeks to intervene as a defendant to support government action, it must demonstrate that it

would be injured if the government action were set aside. Fund for Animals, 322 F.3d at 731–732.

Proposed Intervenors do not meet these standards.

       A.      No Proposed Intervenor Has Article III Standing.

       Proposed Intervenors must establish an injury-in-fact that is “concrete and particularized”

and “actual or imminent, not conjectural or hypothetical.” Lujan, 504 U.S. at 560 (internal

quotation marks and citations omitted). “For prospective injuries, imminence means that the injury

must be ‘certainly impending.’ ” Ctr. for Biological Diversity v. U.S. Fish & Wildlife Serv., 340

F.R.D. 1, 4 (D.D.C. 2021) (quoting Lujan, 504 U.S. at 564 n.2). This is a showing the would-be

intervenors do not and cannot make.

       Proposed Intervenors stake their claimed injury primarily on speculation that Manufacturer-

Plaintiffs will use their models to improperly withhold payments on 340B-eligible purchases,

insisting that Manufacturer-Plaintiffs are “likely” to “deny legitimate claims,” increasing their cost

of purchasing medicines. Mot. at 3, 5–7, 12. Proposed Intervenors’ conjecture that Manufacturer-

Plaintiffs will improperly deny rebates on 340B-eligible purchases cannot establish standing. The

340B statute contains numerous safeguards to ensure 340B hospitals receive a bona fide offer, and

provides a remedy if they don’t. No manufacturer would risk not only administrative dispute

resolution (ADR) claims by covered entities like Proposed Intervenors, but also potentially severe

civil monetary penalties, see 42 U.S.C. § 256b(d)(1)(B)(vi), by intentionally denying valid rebate

claims. Proposed Intervenors give no reason for this Court to believe that Manufacturer-Plaintiffs’

models will result in covered entities receiving fewer payments than they are entitled to under the

340B statute; throughout the administrative record, Manufacturer-Plaintiffs explain that all valid

340B claims will be paid under their models. See, e.g., AR 272–273, 296, 299, 317–318, 329–330,


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338–339, 435. What’s more, under the prevailing product-replenishment model, covered entities

rarely learn that medicine is 340B-eligible until months after purchasing it at the wholesale price—

well after the short turnaround period that Manufacturer-Plaintiffs’ models are contemplating—

further undercutting Proposed Intervenors’ claim that they will be harmed by models. E.g., No. 24-

3337, ECF No. 17 (“Under the product-replenishment model, . . . within 14 days, a covered entity

often will not even have purported to identify a claim as 340B-eligible for its own purposes.”).

Proposed Intervenors’ declarations do not provide specific facts disputing that compliance will

increase; they simply profess to be “extremely concerned” that Manufacturer-Plaintiffs will not

comply with their 340B Program obligations. E.g., Desai Decl. ¶ 20. But Proposed Intervenors’

“concern” that Manufacturer-Plaintiffs will not comply is not proof that Manufacturer-Plaintiffs

will not comply.    And indeed, the declarations provide no evidence—or even any credible

concern—that Manufacturer-Plaintiffs will not live up to their commitment to promptly pay all

submitted rebate claims.

       Bare assertions predicated on ungrounded fears of potential future noncompliance do not

satisfy Article III standing: Proposed Intervenors’ “alleged injury is prospective,” depends on a

chain with several speculative links, and “is not ‘certainly impending,’” and therefore cannot

support intervention. Ctr. for Biological Diversity, 340 F.R.D. at 4 (citing Clapper v. Amnesty Int’l

USA, 568 U.S. 398, 409 (2013)); see Arpaio v. Obama, 797 F.3d 11, 21 (D.C. Cir. 2015); United

Transp. Union v. ICC, 891 F.2d 908, 912 (D.C. Cir. 1989) (explaining that parties making

“allegations of future injuries” must “credibly allege that [they] face[] a realistic threat from the

future” noncompliance (citation omitted)). To the extent, then, that Proposed Intervenors’ revenue

will decline in the face of Manufacturer-Plaintiffs’ models, it is because Proposed Intervenors are

engaged in the sort of waste and abuse that the models are designed to reduce. But Proposed

Intervenors wisely do not contend that not receiving rebates they have no legal right to is an injury


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in fact, just as AIDS Drug Assistance Programs have never alleged injury from manufacturers using

rebate models in dealing with them. See AR 12 (Notice Regarding Section 602 of the Veterans

Health Care Act of 1992—Rebate Option, 63 Fed. Reg. 35239, 35240 (June 29, 1998)).

       Proposed Intervenors also assert that they would need to hire additional employees to collect

and submit claims data to participate in Manufacturer-Plaintiffs’ models. Mot. at 6–8, 12–13. But

as the administrative record demonstrates, the models require only commercially standard claims

data that covered entities already maintain and submit to payors in the ordinary course of their

business. See, e.g., AR 56, 61, 76–77, 178, 182–185, 410. Moreover, most covered entities use

third-party administrators or dedicated employees to administer the product-replenishment

program. The declarations do not say whether Proposed Intervenors administer the product-

replenishment model in-house or through third-party administrators, and, if they administer it in-

house, fail to explain why those same employees could not fulfill the straightforward administrative

duties required by the cash-rebate model—thereby obviating any need to “hire and train new

fulltime employees” to handle these tasks. Carr Decl. ¶ 17; see Desai Decl. ¶ 17. Again, Proposed

Intervenors’ concerns about staffing strains are attenuated and do not approach the “certainly

impending” injury necessary to demonstrate standing and an intervention-worthy interest. Ctr. for

Biological Diversity, 340 F.R.D. at 4 (quoting Clapper, 568 U.S. at 409) (denying intervention).

       Proposed Intervenors also cannot establish standing based on their claimed harms resulting

from Manufacturer-Plaintiffs’ means of ensuring compliance with the 340B statute’s anti-

duplication protection, 42 U.S.C. § 256b(d)(3)(A), or the Drug Price Negotiation Program’s

nonduplication guarantee, 42 U.S.C. § 1320f-2(d). The Proposed Intervenors have not alleged any

injury caused by Manufacturer-Plaintiffs’ efforts to fulfill these statutory objectives and therefore

lack standing for this reason as well. City of Scottsdale v. Fed. Aviation Admin., 37 F.4th 678, 679

(D.C. Cir. 2022) (finding no standing where party “has not identified evidence showing that it has


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suffered that harm”). Even if Proposed Inventors could point to some cost they incur in submitting

information necessary to avoid duplicate price concessions, the nonduplication requirements come

from Congress, and the Proposed Intervenors cannot trace any injury to manufacturers’ actions

implementing those congressional commands. See Louie v. Dickson, 964 F.3d 50, 55 (D.C. Cir.

2020) (“Because petitioners’ injuries are not fairly traceable to that action, petitioners lack standing

to challenge it.”).

        In addition, as this Court has recognized, in order “[t]o be protected by means of

intervention, [an] interest must be a legal interest as distinguished from interests of a general and

indefinite character.” Biden v. IRS, No. 23-2711, 2024 WL 4332072, at *10 (D.D.C. Sept. 27,

2024) (quoting United States v. Am. Tel. & Tel. Co., 642 F.2d 1285, 1292 (D.C. Cir. 1980)) (denying

intervention).    Even if this Court found that Proposed Intervenors’ speculative harms are

sufficiently concrete—and they are not—Proposed Intervenors’ purported interest in opposing

Manufacturer-Plaintiffs’ cash-rebate models is shared in common with thousands of covered

entities across the country. Granting intervention could therefore risk opening the floodgates to

participation by countless other similarly situated entities with the same generalized interest. See

Tr. of Oral Argument at 36–37, AstraZeneca Pharms. LP v. Cochran, No. 21-27 (D. Del. Apr. 26,

2021), ECF No. 51 (denying intervention in part because granting the motion would mean that

“every covered entity would also have a right [under Rule 24] to intervene,” which “could

easily . . . lead to this case getting out of control and falling behind the expedited schedule that has

been worked out between the parties”). This Court should not permit intervention based on the

speculative and generalized interests that Proposed Intervenors have asserted.

        B.       340B Health Lacks Associational Standing

        An association has standing to sue on behalf of its members only if “its members would

otherwise have standing to sue in their own right,” Friends of the Earth, Inc. v. Laidlaw Env’t Servs.


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Inc., 528 U.S. 167, 181 (2000), a test that governs associations who seek to participate as intervenor-

plaintiffs and intervenor-defendants alike. Defenders of Wildlife v. Perciasepe, 714 F.3d 1317,

1323 (D.C. Cir. 2013) (applying associational standing analysis to organization that sought to

intervene as a party defendant); Cigar Ass’n of Am. v. FDA, 323 F.R.D. 54, 64 (D.D.C. 2017)

(same). To establish associational standing, an association must name at least one member with

standing. Hunt v. Washington State Apple Advertising Comm’n, 432 U.S. 333, 343 (1977). But

the two members that 340B Health identifies—UMass and Genesis—do not have standing because

they have not suffered a certainly impending injury in fact. Supra pp. 3–6. 340B Health therefore

does not have associational standing.

II.    PROPOSED INTERVENORS ARE NOT ENTITLED TO INTERVENE AS OF
       RIGHT.

       Standing aside, Proposed Intervenors cannot intervene as of right.               To qualify for

intervention as of right, Proposed Intervenors must (1) timely file their motion, (2) possess “an

interest relating to the property or transaction which is the subject of the action,” (3) be “so situated

that the disposition of the action may as a practical matter impair or impede [their] ability to protect

that interest,” and (4) demonstrate their interest is not “adequately represented by existing parties.”

Fund For Animals, 322 F.3d at 731 (quoting Mova Pharm. Corp. v. Shalala, 140 F.3d 1060, 1074

(D.C.Cir.1998)). Proposed Intervenors flunk each factor.

       A.       The Motion Is Untimely.

       Proposed Intervenors’ motion to intervene should be denied because it is untimely and

intervention would prejudice Manufacturer-Plaintiffs. See Fed. R. Civ. P. 24(a), (b)(1) (allowing

intervention only by “timely motion”). To determine whether the motion was timely, courts

consider “all the circumstances, especially weighing the factors of time elapsed since the inception

of the suit, the purpose for which intervention is sought, the need for intervention as a means of

preserving the applicant’s rights, and the probability of prejudice to those already parties in the

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case.” Campaign Legal Ctr. v. FEC, 68 F.4th 607, 610 (D.C. Cir. 2023) (quoting Karsner v.

Lothian, 532 F.3d 876, 886 (D.C. Cir. 2008)). “[T]he requirement of timeliness is aimed primarily

at preventing potential intervenors from unduly disrupting litigation, to the unfair detriment of the

existing parties.” Roane v. Leonhart, 741 F.3d 147, 151 (D.C. Cir. 2014).

       Lilly filed its complaint on November 14, 2024, and BMS followed two weeks later. More

than two months passed while Proposed Intervenors sat on their hands. They waited until after the

Court set summary-judgment briefing schedules in Manufacturer-Plaintiffs’ cases, see No. 24-

3337, Minute Order of December 30, 2024 (BMS); No. 24-3220, Minute Order of January 2, 2025

(Lilly); No. 24-3496, Minute Order of January 6, 2025 (Sanofi); No. 25-117, Minute Order of

January 27, 2025 (Novartis), to seek intervention on February 5. See No. 24-3220, ECF No. 18

(Lilly); No. 24-3337, ECF No. 20 (BMS); No. 25-117, ECF No. 15 (Novartis).

       This Court has made clear that the clock starts running against intervention once “the

proposed intervenor knew or should have known that an action could affect [their] interests.” Rubin

v. Islamic Republic of Iran, 270 F.R.D. 7, 11 (D.D.C. 2010) (citing Catanzano v. Wing, 103 F.3d

223, 232 (2d Cir. 1996)). Here, timeliness must be measured from the first part of November.

Proposed Intervenors were unquestionably following manufacturers’ models closely. In August

2024, 340B Health wrote to HRSA to complain about the “administrative burdens and financial

harms” of proposed rebate models. See AR 565–569, 632–633. Manufacturer-Plaintiffs’ filings

were no secret; Proposed Intervenors were on notice as soon as Manufacturer-Plaintiffs’ filed suit.

See, e.g., Lilly Statement on New 340B Litigation, Lilly Investors (Nov. 14, 2024),

https://investor.lilly.com/news-releases/news-release-details/lilly-statement-new-340b-litigation.

Yet Proposed Intervenors nevertheless chose to lie in wait with these cases until after schedules

were set and all Manufacturer-Plaintiffs but Sanofi had already filed summary-judgment motions.

This Court should not reward Proposed Intervenors’ dilatory tactics, which would prejudice


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Manufacturer-Plaintiffs by virtue of any delay caused by their late-stage arguments—which include

arguments not advanced by HRSA itself, see infra p. 12—injected into a case that is on an expedited

schedule. Thus, because Proposed Intervenors “had more than sufficient time to” get involved in

this litigation earlier, In re Lorazepam & Clorazepate Antitrust Litig., 205 F.R.D. 363, 368 (D.D.C.

2001), and permitting their intervention would prejudice Manufacturer-Plaintiffs, see Roane, 741

F.3d at 151, Proposed Intervenors’ motion is untimely.

          B.     Proposed Intervenors Have Not Demonstrated A Legally Protected Interest.

          Even if Proposed Intervenors’ motion were timely, intervention should still be denied

because Proposed Intervenors lack “a legally protected interest in the action.” Karsner, 532 F.3d

at 885; see Old Dominion Elec. Coop. v. FERC, 892 F.3d 1223, 1233 (D.C. Cir. 2018).

          Astra USA, Inc. v. Santa Clara County bars covered entities from litigating their preferred

interpretation of the 340B statute in federal court opposite manufacturers. 563 U.S. 110, 114

(2011). In Astra, the unanimous Supreme Court recognized that “Congress vested authority to

oversee compliance with the 340B Program in HHS and assigned no auxiliary enforcement role to

covered entities.” Id. at 118.

          The Court explained that Congress did not authorize “suits by 340B entities” or intend to

“spread the enforcement burden” for the program to nongovernment parties. Id. at 119–120.

Congress instead “directed HRSA to create a formal dispute resolution procedure, institute refund

and civil penalty systems, and perform audits of manufacturers.” Id. at 121. The statute’s ADR

process is thus the only “proper remedy for covered entities complaining of ‘overcharges and other

violations’” of the 340B statute. Id. at 122 (quoting 42 U.S.C. § 256b(d)(1)(A)). Suits by covered

entities that seek to enforce 340B requirements “are incompatible with the statutory regime.” Id.

at 113.




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       Astra precludes intervention by Proposed Intervenors here. Their only concern is that

Manufacturer-Plaintiffs’ models will result in overcharges—either because 340B hospitals must

pay market price for medicines initially, or speculative administrative costs effectively raise the

price above the 340B price. AR 568. But any challenge to the overcharges about which Proposed

Intervenors are “concerned,” including claims allegedly arising from the cash-rebate model, must

be “first adjudicated by HHS” through the ADR process—if such overcharges occur. Am. Hosp.

Ass’n v. HHS, No. 4:20-cv-08806, 2021 WL 616323, at *6 (N.D. Cal. Feb. 17, 2021). If covered

entities attempted to sue Manufacturer-Plaintiffs directly, asserting the cash-rebate model is

impermissible because it causes them monetary harm, Astra would require dismissal. In the same

way, intervening to defend HRSA and assert as a legally protectable interest concerns about

possible future overcharges is little more than a “creative recasting” of the same case that Proposed

Intervenors could not bring against Manufacturer-Plaintiffs as plaintiffs. Id. at *5.

       “Astra forbids[ ] the private enforcement of 340B program requirements” in all forms,

including any action in which the covered entities’ positions and remedies sought “are entirely

premised on the enforcement of the 340B Program requirements against . . . allegedly non-

complying drug companies.” Id. For that reason, covered entities may not litigate against

manufacturers to enforce the 340B statute, “[n]o matter the clothing in which [they] dress their

claims.” 563 U.S. at 114 (quoting Tenet v. Doe, 544 U.S. 1, 8 (2005)). That ends the second-

element analysis.

       C.      Disposition Of This Action Will Not Impair Proposed Intervenors’ Ability To
               Protect Their Claimed Interests.

       Separately, Proposed Intervenors are unable to demonstrate that “disposing” of this case in

their absence would “impair or impede [their] ability to protect [their purported] interest.” Yocha

Dehe, 3 F.4th at 430 (quoting Fed. R. Civ. P. 24(a)(2)).



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       As discussed above, Proposed Intervenors’ characterization of the financial harm they

potentially face is overblown and unsupported by the administrative record. Supra pp. 3-6. And

again, the ADR process remains available to covered entities in the unlikely event any overcharges

ever occur. See Am. Hosp. Ass’n, 2021 WL 616323, at *6; 42 U.S.C. § 256b(d). More importantly,

Proposed Intervenors assert no valid, protectable interest: They cannot reasonably complain about

the alleged costs of transitioning to Manufacturer-Plaintiffs’ models, which are expressly

contemplated by the 340B statute, when their product-replenishment model was itself never

preapproved and covered entities must incur the costs of preventing duplication and diversion to

remain eligible as covered entities. See 42 U.S.C. § 256b(a)(5) (detailing compliance requirements

that covered entities must abide by in order to retain Program eligibility). Any expectation that the

unapproved, unilaterally imposed product-replenishment model—which has precipitated pervasive

abuse in the 340B Program, see, e.g., BMS Compl. ¶ 4—would indefinitely remain intact was

unreasonable from the outset. Thus, Proposed Intervenors cannot now claim impairment from

having to transition to a compliant model. Proposed Intervenors’ self-inflicted harm—in the form

of unreasonable reliance on an unsanctioned, problematic model—cannot justify intervention.

       D.      Proposed Intervenors Have Not Demonstrated Inadequate Representation.

       Finally, Proposed Intervenors have not shown that the Government is not adequately

representing their interests in its defense of HRSA’s decisions rejecting Manufacturer-Plaintiffs’

proposed cash-rebate models. “An applicant does not possess a right to intervene . . . if its ‘interest

is adequately represented by existing parties.” In re Sealed Case, 237 F.3d 657, 663 (D.C. Cir.

2001) (quoting Fed. R. Civ. P. 24(a)). And “[a] would-be intervenor is adequately represented

when [it] ‘offer[s] no argument not also pressed by’ an existing party.” United States v. All Assets

Held at Credit Suisse (Guernsey) Ltd., 45 F.4th 426, 432 (D.C. Cir. 2022) (quoting Bldg. & Constr.

Trades Dep’t v. Reich, 40 F.3d 1275, 1282 (D.C. Cir. 1994)).


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       To support their inadequate-representation argument, Proposed Intervenors offer three

flawed contentions. First, Proposed Intervenors seek to advance a novel argument not raised by

HRSA in the administrative record: Manufacturer-Plaintiffs’ “proposed rebate model[s] [are]

unlawful per se, and [ ] HRSA would have no authority to approve any rebate model.” Mot. at 19.

But because that rationale is nowhere to be found in the administrative record, it cannot be deployed

as a post hoc rationalization for HRSA’s rejection of Manufacturer-Plaintiffs’ cash-rebate models.

See Bhd. of Locomotive Eng’rs & Trainmen v. Fed. R.R. Admin., 972 F.3d 83, 117 (D.C. Cir. 2020)

(citing Dep’t of Homeland Sec. v. Regents of the Univ. of Cal., 591 U.S. 1, 20–24 (2020)) (parties

cannot rely on arguments not presented by agency below); Illinois Bell Tel. Co. v. FCC, 911 F.2d

776, 786 (D.C. Cir. 1990) (intervenor cannot raise matters not presented by the parties). In other

words, Proposed Intervenors press factual and legal arguments this Court cannot consider: Review

here is limited to the record as the agency marshaled it, Camp v. Pitts, 411 U.S. 138, 142 (1973),

and is confined to the agency’s rationale as HRSA articulated it, SEC v. Chenery, 332 U.S. 194,

196 (1947). So, while Proposed Intervenors advance points not already raised by the Government

in an attempt to justify intervention, those arguments are out of bounds, as Proposed Intervenors

cannot press justifications for HRSA action that HRSA did not assert for itself.

       Second, Proposed Intervenors argue that the Government’s representation is inadequate

because Proposed Intervenors are the “only entities that can adequately describe the impact that

[Manufacturer-Plaintiffs’] proposed rebate model[s] will have on 340B hospitals and the patients

they serve.” Mot. at 19. But the purported practical impact of Manufacturer-Plaintiffs’ models on

covered entities’ “financial interests,” Mot. at 18, does not bear on whether HRSA has the statutory

authority to reject Manufacturer-Plaintiffs’ proposed models. Proposed Intervenors’ ancillary

concerns belong at most in an amicus brief. See District of Columbia v. Potomac Elec. Power Co.,

826 F. Supp. 2d 227, 234 (D.D.C. 2011) (“Since the Court will grant the proposed intervenors leave


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to participate as amici curiae, . . . the Court will have the opportunity to consider all of the proposed

intervenors’ objections . . . .”). Regardless, the administrative record reflects that the government

is adequately representing Proposed Intervenors’ interests on this issue: HRSA is aware of

contentions that covered entities will shoulder new administrative costs under rebate models and

has discussed those concerns with hospital groups. See AR 66–68, 75–76, 292–293, 342–343, 380–

382, 439–440, 573, 583–584, 586, 644. Indeed, HRSA has expressly solicited input from covered

entities that the agency could use to oppose Manufacturer-Plaintiffs’ cash-rebate models. See AR

586 (internal HRSA correspondence revealing that HRSA expressed “it would be helpful if

[covered entities] could gather some more specific information from [their] members about how

changes to 340B policies would affect [their] members”).

        Third, Proposed Intervenors speculate that the new administration will not “defend the

instant suit nor maintain the position that [Manufacturer-Plaintiffs’] proposed rebate model[s]

violate[ ] the 340B statute.” Mot. at 18. But a putative intervenor “must produce something more

than speculation as to the purported inadequacy” to satisfy this factor. Aref v. Holder, 774 F. Supp.

2d 147, 172 (D.D.C. 2011) (quoting Moosehead Sanitary Dist. v. S.G. Phillips Corp., 610 F.2d 49,

54 (1st Cir. 1979)). And courts have made clear that “the mere change from one . . . administration

to another, a recurrent event in our system of government, should not give rise to intervention as of

right in ongoing lawsuits.” League of United Latin Am. Citizens, 131 F.3d 1297, 1307 (9th Cir.

1997) (citation omitted). If this Court were to find that “speculation about the effects of a change

of administration were sufficient to meet [Proposed Intervenors’] burden of demonstrating

inadequate representation, then proposed intervenors could always satisfy the third prong of Rule

24(a)(2) if the defendant were a [ ] government entity.” Id. (citation omitted).

        Proposed Intervenors admit that “there has been no suggestion yet that the new

administration will take a different position on this matter” than the previous administration. Mot.


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at 18; see also id. at 11 n.4 (suggesting intervention is necessary because of “uncertainty regarding

the legal positions that the Government Defendants may take as the litigation proceeds” (emphasis

added)). Without any evidence that the new administration will abandon HRSA’s prior decisions

on Manufacturer-Plaintiffs’ cash-rebate models, Proposed Intervenors cannot show that the

Government does not adequately represent their interests. Speculation over a future change in

position aside, Proposed Intervenors still fail to make the required showing of inadequate

representation for the reasons already explained. Intervention as of right should be denied.

III.   PERMISSIVE INTERVENTION IS UNWARRANTED.

       Proposed Intervenors also do not meet the requirements for permissive intervention, as they

have neither (1) an independent ground for subject-matter jurisdiction, (2) a conditional right to

intervene under a federal statute, nor (3) a claim or defense that shares “a common issue of law or

fact” with the main action. Fed. R. Civ. P. 24(b)(1); EEOC v. Nat’l Child.’s Ctr., Inc., 146 F.3d

1042, 1046 (D.C. Cir. 1998).

       The would-be intervenors lack standing for the reasons described above. They also do not

claim they enjoy a conditional statutory right to intervene in this case under a federal statute. To

the contrary, the 340B statute makes ADR the exclusive means for redressing Proposed Intervenors’

concerns. See Am. Hosp. Ass’n, 2021 WL 616323, at *6; 42 U.S.C. § 256b(d). And Proposed

Intervenors do not explain the claim or defense they will present that shares “a common issue of

law or fact” with the main action, much less how such a claim or defense would overcome Astra.

Fed. R. Civ. P. 24(b)(1).

       Ultimately, however, because “permissive intervention is an inherently discretionary

enterprise,” EEOC, 146 F.3d at 1046, this Court retains the discretion to deny a request to intervene

permissively, even if the proposed intervenor satisfies the traditional criteria. Id. at 1048. “The

Rule 24(b) requirements are the floor where the Court’s discretion begins, not the ceiling where it


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ends.” United Mexican States v. Lion Mex. Consol., L.P., __ F. Supp. 3d ___, 2024 WL 4753800,

at *13 (D.D.C. Nov. 8, 2024). This Court should therefore exercise its discretion here to deny

intervention.

       Proposed Intervenors’ motion is untimely, particularly set against the backdrop of this case.

Nothing prevented Proposed Intervenors from moving to intervene promptly upon learning of these

cases more than three months ago. The delay is all the more vexing here, when it was clear by late

December that the parties had agreed—and this Court had adopted—an expedited summary-

judgment briefing schedule that would ensure the cases are fully briefed by the end of March. See,

e.g., No. 24-3337, Minute Order of December 30, 2024 (ordering briefing schedule in BMS case).

       There are practical considerations that cut against intervention, too. If this Court finds that

Proposed Intervenors may participate, other covered entities—particularly those who the record

reveals complained to HRSA about Manufacturer-Plaintiffs’ models—may not be content to remain

on the sidelines. The ensuing storm of covered-entity intervenors would be unwieldy and

unworkable, and would undermine Manufacturer-Plaintiffs’ right to be heard in a timely fashion.

See Ctr. for Food Safety v. EPA, No. 23-cv-1633, 2024 WL 1299338, at *10 (D.D.C. Mar. 26,

2024) (denying permissive intervention where it would “result in an inefficient use of judicial

resources” all “while not significantly contributing to the just and equitable adjudication of the legal

question presented”).

       Ultimately, Proposed Intervenors can have their voices heard short of intervention. The

Court has permitted amicus participation in these cases, and Manufacturer-Plaintiffs consent to any

brief Proposed Intervenors may wish to file being considered as an amicus curiae brief if it complies

with this Court’s Rule 7(o).

                                           CONCLUSION
       For the foregoing reasons, Proposed Intervenors’ motion to intervene should be denied.


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